Case 1:23-cv-00272-JFM         Document 132      Filed 10/16/24     Page 1 of 1 PageID #: 1844




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  ALLERGAN, INC., et al.                      : CIVIL ACTION
                                              :
                       v.                     : NO. 23-272
                                              :
  MANKIND PHARMA LTD.                         :

                                           ORDER
        AND NOW, this 16th day of October 2024, upon considering plaintiffs’ motion to strike

 (DI 110), it is ORDERED plaintiffs’ motion to strike (DI 110) is DENIED in light of our July

 22, 2024 order (DI 126) and in view of Mankind’s representation that it would withdraw the

 subject contentions (DI 123 n. 1).




                                                    MURPHY, J.
